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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

                                  *
SYMBOLOGY INNOVATIONS LLC         *
Plaintiff                         *    CIVIL ACTION NO. 3:17-cv-151
                                  *
v.                                *
                                  *
BRIGGS & STRATTON CORPORATION     *
Defendant                         *
                                  *
* * * * * * * * * * * * * * * * * * * * * * *

           RULE 26(f) JOINT PRE-TRIAL REPORT AND DISCOVERY PLAN

       Plaintiff Symbology Innovations LLC ("Symbology") and Defendant Briggs & Stratton

Corporation ("Briggs"), by way of their respective undersigned counsel, (collectively, the

"Parties") submit the following joint pre-trial report and discovery plan. The Parties conferred on

June 6th, 2017 by telephone to discuss the matters set forth in Rule 26 and the Court's Standing

Order Governing Preliminary Pretrial Conferences. A scheduling conference in this case is

scheduled for June 20th, 2017 at 1:00pm.


I. NATURE OF THE CASE. This is a patent infringement case arising under the patent laws of

the United States, 35 USC §1 et seq. Symbology alleged that Briggs is and has been infringing at

least claims 5 and 9 of U.S. Patent No. 8,424,752 (the "'752 patent"); claims 5 and 9 of U.S. Patent

No. 8,651,369 (the "'369 patent"); claims 5 and 9 of U.S. Patent No. 8,936,190 (the "'190 patent");

and claims 4 and 8 of U.S Patent No. 7,992,773 (the "'773 patent") (collectively, the "Patents in

Suit" or “Asserted Patents”). Briggs seeks declaratory judgments of non-infringement and

invalidity of the Patents-in-Suit. Briggs also seeks a declaration by the Court that all claims of the

Asserted Patents are unenforceable due to inequitable conduct. Briggs may also seek an award of

costs, expenses, and attorneys’ fees.

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II. RELATED CASES. The Parties are aware of the following active legal actions, filed on

February 27, 2017 in the United States District Court the Western District of Wisconsin and

directly related to the instant matter:

     Symbology Innovations LLC v. Kohler Co., case no. 17-cv-153.

     Symbology Innovations LLC v. Matco Tools Corporation, case no. 17-cv-155.

The Parties are also aware that there are currently 12 other active cases pending in five other

districts, including the District of New Jersey, the Eastern District of Texas, the Eastern District

of Virginia, and the Middle District of Florida, in which Symbology has filed complaints alleging

infringement of the Patents-in-Suit and that are directly related to the instant matter.


III. MATERIAL FACTUAL AND LEGAL ISSUES TO BE RESOLVED AT TRIAL. The

material factual and legal issues to be resolved at trial will be further refined through the discovery

process. The Parties presently anticipate that the court or jury will need to resolve the following

issues:

          A. The proper construction of one or more terms which appear within the asserted claims

             of the Patents in Suit;

          B. Whether Briggs has infringed one or more of the aforementioned claims of the Patents

             in Suit;

          C. If liability for infringement is found, the damages sustained by Symbology as a result

             of Brigg's infringement;

          D. If liability for infringement is found, whether Briggs knowingly, willfully, and

             deliberately infringed one or more of the asserted claims of the Patents in Suit.;




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        E. Whether Symbology is entitled to enhanced damages (35 USC §284) and/or an award

           of reasonable attorneys' fees (35 USC §285);

        F. Whether it is appropriate to enter an injunction, either preliminarily or permanently,

           enjoining Briggs from infringing the Patents in Suit;

        G. Whether any of the Patents-in-Suit are invalid;

        H. Whether any of the Patents-in-Suit are unenforceable; and

        I. Whether Briggs is entitled to attorney’s fees under 35 U.S.C. § 285 and an award of

           costs and expenses.


IV. AMENDMENTS TO THE PLEADINGS. The Parties have included a deadline for

amendments to the pleadings without leave of the Court in their proposed case schedule.


V. ADDITIONAL PARTIES. The Parties do not anticipate adding parties at this time, but

reserve the right to seek the Court's leave should the need arise.


VI. ESTIMATED LENGTH OF TRIAL. The Parties estimate that a jury trial will take 5 to 7

days.


VII. OTHER ISSUES.

   A. PROPOSED DISCOVERY PLAN AND CASE SCHEDULE. The parties propose the

        following pretrial case schedule.




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                           EVENT                                          MUTUALLY PROPOSED DATES

   Deadline for initial disclosures pursuant to                                           June 20, 2017
                  Rule 26(a)(l)
 Service of infringement contentions (including                                           June 30, 2017
 claim charts)1
 Deadline to amend pleadings without leave of                                              July 17, 2017
 the Court
 Service of invalidity contentions (including                                         September 14, 2017
 claim charts)2
 Simultaneous exchange of list of claim terms                                           October 13, 2017
 requiring construction; proposed construction
 Simultaneous exchange of responses to claim                                          November 10, 2017
 terms / proposed constructions
 Disclosure of reliance on advice of counsel                                          December 13, 2017
 Deadline to Substantially Complete Document                                           January 5, 2018
 Production and Exchange Privilege Logs

 Counsel are expected to make good faith
 efforts to produce all required documents as
 soon as they are available and not wait until the
 substantial completion deadline.
 Opening Claim Construction Brief and Submit                                             January 5, 2018
 Technical Tutorials (if any)

 Responsive Claim Construction Brief                                                    February 2, 2018
 Reply Claim Construction Brief                                                        February 23, 2018
 Joint Claim Construction Chart                                                           March 2, 2018
 Claim Construction Hearing                                                 To be decided by the Court
 Serve Disclosures for Expert Witnesses by the                         30 days after the Court issues its Claim
 Party with the Burden of Proof                                           Construction Opinion and Order
 Serve Disclosures for Rebuttal Expert                                   35 days after the exchange of expert
 Witnesses                                                                              reports.
 Deadline for filing dispositive motions                                 30 days after the Discovery Cutoff.
 Discovery cutoff                                                       30 days after the exchange of rebuttal
                                                                                    expert reports.


1 If there is a contention by Symbology that there is infringement of any claims under the doctrine of equivalents, Symbology must

separately indicate this on its claim chart and, in addition to the information required for literal infringement, Symbology must also
explain each function, way, and result that it contends are equivalent and why it contends that any differences are not substantial.
2 If there is a contention of invalidity based on something other than prior art, Briggs must specify what the basis is and whether

such allegation is based on 35 USC §§101, 102, 103, 112, or another statutory provision.

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Deadline for all Daubert motions and motions           30 days after the Discovery Cutoff.
in limine
Deadline for all responses to Daubert motions         30 days after the filing of all Daubert
and motions in limine                                    motions and motions in limine
Final pretrial conference                                 To be decided by the Court
Jury trial                                                To be decided by the Court

  B. DISCLOSURES UNDER RULE 26(a). The Parties will proceed in accordance with

      Rules 26(a)(1) and 26(a)(2)(B). Proposed dates for complying with such rules are included

      in the proposed discovery plan set forth in Section VII(A).

  C. DISCOVERY. Symbology anticipates that discovery will be needed regarding the manner

      and way in which Briggs has used one or more instance of the accused instrumentalities,

      including any internal testing; Briggs' knowledge of the Patents in Suit; the basis for Briggs'

      assertion of non-infringement and invalidity and inequitable conduct defenses; the

      ownership and management of Briggs; any assertion of reliance upon legal advice as

      defense; and the basis for any expert opinion offered on behalf of Briggs. Discovery may

      be required of non-party competitors in the QR code industry regarding market share,

      pricing, royalties, and other factors that may relate to Symbology's claim for damages.

      Other matters requiring discovery by Symbology may arise as the issues are further

      developed in this case.

      Briggs anticipates that discovery will be needed regarding the ownership of the Patents-in-

      Suit, the prosecution of the Patents-in-Suit, the enforceability of the Patents-in-Suit, and

      the validity of the Patents-in-Suit. Briggs further anticipates that discovery will be needed

      regarding the basis for Symbology’s allegations in its Complaint, the basis for

      Symbology’s infringement contentions, the basis for Symbology’s claim for damages, and

      any expert opinion offered on behalf of Symbology. Other matters requiring discovery by

      Briggs may arise as the issues are further developed in this case.

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   The date for completing discovery is included in the proposed discovery plan set forth in

   Section VII(A).

   ISSUES ABOUT DISCLOSURE, DISCOVERY AND PRESERVATION OF ESI.

   Counsel for the parties have assured each other that, by no later than the date that this

   document is being filed with the Court, the Parties have been instructed by their counsel to

   preserve all documents, things, and electronically stored information ("ESI") that

   reasonably relate to allegations which have been set forth in the pleadings filed in this case.

   The Parties further agree to the terms in the proposed E-Discovery Order (attached

   as Exhibit A).

D. PRIVILEGE / TRIAL PREPARATION MATERIALS. The Parties plan to stipulate to

   the entry by the Court of a suitable mutual protective order under Rule 26(c) to safeguard

   the confidentiality of documents and information exchanged during discovery, and the

   Parties will include in such stipulated protective order provisions for preserving privilege

   in communications or materials that are inadvertently or mistakenly produced to the

   opposing party during discovery. The Parties agree not to propound discovery until

   such stipulated protective order is entered The Parties agree that privileged documents

   created after the filing or litigation need not be included on a privilege log.

E. DISCOVERY LIMITS. At present, the Parties believe that discovery may proceed in

   accordance with the default limits imposed by the Federal Rules of Civil Procedure, with

   the exceptions that:

   (1) There is no limit on the number of requests for admission the parties may serve to

      establish the authenticity of documents. Requests for admission directed to document

      authentication shall be clearly denoted as such;



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   (2) Each Party may serve up to 45 requests for admission;

   (3) There are no limits on the number of depositions upon written questions of custodians

       of business records for third parties taken pursuant to Rule 31.

   Unless otherwise agreed, the daily limit of seven (7) hours shall apply to all depositions.

   Time toward the daily limit of seven (7) hours will count whether used in direct

   examination or cross-examination of any witness. Unless otherwise agreed, depositions of

   defendant and its employees shall take place in the deponent’s city of residence and at a

   mutually agreeable time for the parties. Counsel should confer in advance to schedule

   depositions at mutually convenient times and places. The Parties agree to cooperate in

   connection with discovery whenever possible and discuss in good faith any future

   alterations to the default discovery limits set forth within the Federal Rules of Civil

   Procedure if the need arises.

F. EXPERT DISCOVERY. The Parties stipulate that draft expert reports and

   communications with experts are not discoverable pursuant to Rule 26(b)(4). However, all

   materials that an expert relied upon in forming the opinions expressed in a final report shall

   be discoverable. Expert testimony on direct examination at trial will be limited to the

   opinions, basis, reasons, data, and other information disclosed in the written expert report

   disclosed pursuant to this order. Failure to disclose such information may result in the

   exclusion of all or part of the testimony of the expert witness. Each party shall be limited

   to three testifying experts at trial per opposing party.

G. PROTECTIVE ORDER. The Parties will promptly seek from the Court the entry of a

   stipulated mutual protective order safeguarding the confidentiality of information and

   documents produced in discovery pursuant to Rule 26(c) in a manner to be agreed upon by



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   the Parties. The Parties agree not to propound discovery until such stipulated protective

   order is entered.

H. ELECTRONIC SERVICE. The Parties consent that service by electronic means shall be

   allowed as set forth in Federal Rule of Civil Procedure 5(b)(2)(E) and that such service

   shall be deemed complete upon transmission, provided that the sender does not receive any

   indication that such electronic transmission was unsuccessful. The parties agree that a

   document is deemed served on a particular day if sent by midnight CT on that calendar

   day; otherwise it is deemed served on the next calendar day..

          DATED this 9th day of June, 2017.

          RESPECTFULLY SUBMITTED.

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